   Case 4:21-cr-06022-SAB            ECF No. 36       filed 05/24/21      PageID.37 Page 1 of 2

      United States District Court, Eastern District of Washington
                              Magistrate Judge Mary K. Dimke
                                          Richland

 USA v. EDUARDO REYES                                  Case No. 4:21-MJ-7108-MKD-2

                                       Video Conference
                       The Defendant agreed to appear via video conference.

 Detention Hearing:                                                                        05/24/2021


 ☒ Pam Howard, Courtroom Deputy [Y]                   ☒ Caitlin Baunsgard, US Atty (tele)
                                                      ☒ Robin Emmans, Defense Atty (tele)
 ☒ Erica Helms, US Probation / Pretrial               ☒ Interpreter NOT REQUIRED
   Services (tele)
 ☒ Defendant present ☒ in custody USM                 ☐ Defendant not present / failed to appear
   appearing by video from Sunnyside
   Corrections Center

 ☒ Defendant continued detained                       ☐ Conditions of Release imposed
                                                      ☐ 199C Advice of Penalties/Sanctions

                                             REMARKS
         Due to the current COVID-19 public health crisis, all parties including Defendant, appeared by
video or teleconference.
         USA proffered the pretrial services report and concurs with its recommendation of continued
detention of the Defendant. USA advised this charge carries a presumption of detention.
         USA argued why the Court should detain the Defendant and why there are no conditions of
release which will reasonably assure Defendant’s appearance as required and/or the safety of the
community. USA advised the release residence is not appropriate and Defendant has ties in Mexico and
has traveled to Mexico. Defendant’s girlfriend has driven Defendant to drug sales on at least one
occasion.
         USA argues the large amount of drugs and cash that were seized indicate the drug supplier has a
good level in trust of these Defendants. USA has concerns with the firearms and thousands of rounds of
ammunition that were seized. USA advised the Court as to recorded jail calls in Spanish to Defendant’s
mother regarding contacting the drug supplier in Mexico, USA is having those calls transcribed.
         Defense counsel argued why the Defendant should be released including a limited criminal
history, no numerous failures to appear, and no warrant has been issued in the state case. Defense argues
this Defendant is young and his contact with Mexico is due to his father is living there which is
appropriate. Defendant will turn in his passport and he has a job he may be able to return to or can obtain
alternate employment. Defense advised Defendant has strong family ties and multiple options for
residency. Defense proposed conditions of release. Defendant lawfully owned the firearms and
ammunition and those have been removed.
         USA advised would object to Defendant’s release to the residence with the address of the pending
state assault case.
         Defense advised Defendant has other residence options.

Digital Recording/Y-102               Time: 10:15 a.m. – 10:34 a.m.                                Page 1
  Case 4:21-cr-06022-SAB         ECF No. 36       filed 05/24/21    PageID.38 Page 2 of 2


      The Court ordered:
         1. USA’s Motion for Detention is granted, subject to return should circumstances
            change. The presumption of detention has not been overcome.
         2. That there is no combination of conditions to assure the Defendant’s appearance as
            required.
         3. Defendant shall be detained by the U.S. Marshal until further order of the Court.




Digital Recording/Y-102           Time: 10:15 a.m. – 10:34 a.m.                              Page 2
